         Case 2:10-bk-46350-BB             Doc 1-7 Filed 08/27/10 Entered 08/27/10 15:17:22                            Desc
                                           Case Com Def Notice Page 1 of 1
                                         United States Bankruptcy Court
                                          Central District Of California
In re:
                                                                  CHAPTER NO.:    11
P&C Poultry Distributors, Inc.
                                                                  CASE NO.:   2:10−bk−46350−PC

                               CASE COMMENCEMENT DEFICIENCY NOTICE
To Debtor and Debtor's Attorney of Record,
YOUR CASE MAY BE DISMISSED IF YOU FAIL TO CURE THE FOLLOWING DEFICIENCIES:
A. You must cure the following within 14 days from filing of your petition:

  Statement of Related Cases required by Local Rule 1015−2.
  Verification of Creditor Mailing List. [Local Rule 1007−2(d)]
  Summary of Schedules (Form B6). [Local Rule 1002−1(g)]
  Signed Declaration Concerning Debtor's Schedules (Form B6). [Local Rule 1002−1(g)]
  Disclosure of Compensation of Attorney for Debtor, Certified by Attorney. [11 U.S.C. §329; F.R.B.P. 2016(b);
Local Rule 1002−1(g)]

B. If you are a Small Business Debtor in a Chapter 11 case, within 7 days after the date of the filing of the petition, you must file the
most recent:
1.   Balance sheet
2.   Statement of operations
3.   Cash−flow statement
4.   Federal tax return
OR
5. Statement made under penalty of perjury that no balance sheet, statement of operations, or cash−flow statement has been
prepared and no Federal tax return has been filed [11 U.S.C.§1116]

Even if the indicated documents are not applicable to your particular situation, they must still be filed with the notation 'None'
marked thereon.




For all items above you must file the original and the following number of copies [Local Bankruptcy Rule 1002−1]:
                Chapter 11       1 Original and 3 Copies

Please return the original or copy of this form with all required items to the following location:

                255 E. Temple Street, Room 940, Los Angeles, CA 90012


If you have any questions, please contact the below−referenced Deputy Clerk:




                                                                                 KATHLEEN J. CAMPBELL, CLERK OF
Dated: August 27, 2010                                                           COURT
                                                                                 By: Monica Groves
                                                                                  Deputy Clerk

ccdn − Revised 12/2009                                                                                                            1/
